Case 1:22-cv-01952-TWP-MJD Document 25 Filed 12/21/22 Page 1 of 3 PageID #: 105




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

  SUSAN KINDER,

                    Plaintiff,

           v.                                      Case No. 1:22-cv-1952-TWP-MJD

  MARION COUNTY PROSECUTOR’S
  OFFICE,

           Defendant.

           DEFENDANT’S PRELIMINARY LISTS OF WITNESSES AND EXHIBITS

        Defendant Marion County Prosecutor’s Office, by counsel, pursuant to the Court’s case

 management plan, ECF 16, propounds the following preliminary lists of witnesses and exhibits.

 These lists are subject to change as discovery unfolds.

      I.        Preliminary Witnesses

                   a. Susan Kinder

                   b. Lydia Richardson

                   c. Shekell Henton

                   d. Kimberly Rasheed

                   e. Cynthia Oetjen

                   f. Erin Warrner

                   g. Jeff Knoop

                   h. Richard Veen

                   i. Jill Carr

                   j. Maya James

                   k. Samar Nassar
Case 1:22-cv-01952-TWP-MJD Document 25 Filed 12/21/22 Page 2 of 3 PageID #: 106




              l. LaFrietta Norris

              m. Any person listed on the Plaintiff’s witness lists or initial disclosures

              n. Any person identified in any document exchanged in discovery

              o. Any person whose identity is discovered during the course of discovery

     II.   Preliminary Exhibits

              a. The Plaintiff’s entire personnel file from MCPO, including job application,

                 work history, performance reviews, etc.

              b. The Plaintiff’s entire personnel files from employment prior to MCPO.

              c. Any correspondence, including but not limited to emails and instant messages,

                 sent to or from the Plaintiff or any employee of MCPO concerning the

                 Plaintiff’s employment and work history and performance, or the MCPO

                 generally.

              d. Documents sent to or from the EEOC to the Plaintiff/Charging Party.

              e. Written statements or complaints made by Plaintiff’s colleagues concerning

                 the Plaintiff’s actions at work.

              f. Relevant job postings or descriptions.

              g. Any document describing the Plaintiff’s disciplinary history or misconduct at

                 MCPO.

              h. Notes regarding the Plaintiffs’ employment and work history and

                 performance, made by anyone.

              i. MCPO policies regarding harassment, intimidation, respect, equal

                 employment opportunities, or anything else related to the workplace.

              j. The Plaintiff’s performance reviews.



                                                2
Case 1:22-cv-01952-TWP-MJD Document 25 Filed 12/21/22 Page 3 of 3 PageID #: 107




              k. Any document made in the course of investigating a hostile work

                 environment, or other, complaint brought by any employee of MCPO that

                 concerned the Plaintiff in any capacity.

              l. Personnel records of other MCPO employees, to the extent they relate to the

                 Plaintiff’s claims or mention the Plaintiff.

              m. Any document identified by any party in initial disclosures or exhibit lists.

              n. Any document exchanged in discovery in this case.

                                              Respectfully submitted,


                                              INDIANA ATTORNEY
                                              THEODORE     E. ROKITAGENERAL
                                              Attorney No. 18857-49

  Date: December 21, 2022             By:     Alexander R. Carlisle
                                              Deputy Attorney General
                                              Attorney No. 34533-49

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